Case 2:05-cr-20221-BBD Document 9 Filed 06/22/05 Page 1 of 2 Page|D 8

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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE §§ jij}_g 27 m 8; 08
Western Division w

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UNITED s'rArEs oF AMERICA ‘1 ‘~~'~- -'" ‘»’-3 - 9fo CT-

.‘J‘~;H t.-i ' tN MEMPH!S
-vs- Case No. 2:05cr20221-B
MARK A.TAYLOR

 

ORDER OF DETENT|ON PEND|NG TR|AL
FlNDlNGS
In accordance with the Bail Reform Act, 18 U.S.C. § 3142(t), a detention hearing has been
held. The following facts and circumstances require the defendant to be detained pending trial.

No condition or combination of conditions of release will reasonably assure the
safety of any other person and the community

This conclusion is based on the findings and analysis of the matters enumerated in 18 U.S.C.
§ 3142(g) as stated on the record in open court at the detention hearing

D|RECT|ONS REGARD|NG DETENT|ON

MARK A. TAYLOR is committed to the custody of the Attorney Gencral or his designated representative
for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or serving sentences
or being held in custody pending appeal. MARK A. TAYLOR shall be afforded a reasonable opportunity for private
consultation with defense counsel. On order of a Court of the United States or on request of an attorney for the
government, the person in charge of the corrections facility shall deliver the Defendant to the United States marshal for
the purpose of an appearance in connection with a Court proceeding

Date: Jurie 21, 2005 'EQQZL/\_/

TU M. PHAM
UNITED STATES MAGISTRATE IUDGE

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with H.i|e 55 and/or 32ibl FRCrP on "

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
case 2:05-CR-20221 Was distributed by faX, mail, or direct printing on
June 22, 2005 to the parties listed.

 

 

Thornas A. Colthurst

U.S. ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

